Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 1
                                    of 10                         EXHIBIT O

                                                                         Page 1
                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

             Civil No. 21-cv-1708-WJM-MDB
             ____________________________________________________
             DEPOSITION OF                          June 28, 2023
             OFFICER CAROLINE BARTH (ROMINE)
             ____________________________________________________
             ESTATE OF CHAD ALEXANDER BURNETT,
                            Plaintiff,
             vs.
             CITY OF COLORADO SPRINGS, a municipality;
             SERGEANT MICHAEL INAZU, in his individual capacity;
             OFFICER JOSEPH DAIGLE, in his individual capacity;
             OFFICER MATTHEW FLEMING, in his individual capacity;
             OFFICER CAROLINE BARTH, in her individual capacity,

                            Defendants.

             ____________________________________________________

                      The deposition of CAROLINE BARTH (ROMINE),
             taken before Leeann Stellor, a Registered Merit
             Reporter, Certified Realtime Reporter, and a Notary
             Public in and for the County of Summit and the State
             of Colorado, at 2701 Lawrence Street, Denver,
             Colorado, on Wednesday, June 28, 2023, at the hour
             of 9:09 a.m.
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 2
                                    of 10


                                                                        Page 10
        1          Q.      So you said in the interview you had said
        2    you used an X26 taser?
        3          A.      Correct.
        4          Q.      But you since learned that it was a
        5    different model?
        6          A.      Correct.
        7          Q.      How did you come to that realization?
        8          A.      I don't recall.      It was shortly after the
        9    interview that I realized, when looking at my
       10    equipment, that I actually had the X2 taser.             The
       11    model was the X2 and not the X26.
       12          Q.      Do you have -- well, at the time did you
       13    use both models?
       14          A.      I don't recall which model I was trained
       15    on, but I do recall discussing the X26 model during
       16    training when I was going through the police
       17    academy.     I don't recall if I was then reissued --
       18    or if I was issued the X26 initially and then that
       19    was swapped out with the X2 taser during the time
       20    that I had been out of the academy and we had since
       21    gotten the X2.
       22          Q.      As far as you know, are there any
       23    significant differences between those two models?
       24          A.      No significant differences that I can
       25    think of off the top of my head.
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 3
                                    of 10


                                                                        Page 20
        1          Q.      Okay.   And we've talked about the
        2    interview you gave to the El Paso County Sheriff's
        3    Office.    Did you give any other interviews or
        4    statements about the encounter with Mr. Burnett on
        5    May 24th, 2020?
        6          A.      No.
        7          Q.      Did you ever prepare any written
        8    statements or reports about it?
        9          A.      No.
       10          Q.      I want to switch gears a little bit and
       11    just go over your professional background.
       12                          How long have you been in law
       13    enforcement?
       14          A.      I have been in law enforcement since July
       15    of 2015.
       16          Q.      Did you start at the Colorado Springs
       17    Police Department?
       18          A.      Yes.
       19          Q.      Where did you receive your initial POST
       20    certification training?
       21          A.      I received my initial POST certification
       22    at the Colorado Springs Police Department Training
       23    Academy in 2018.
       24          Q.      So you were not POST certified between
       25    2015 and 2018?
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 4
                                    of 10


                                                                        Page 24
        1    assigned to the Stetson Hills patrol division.
        2    That's where I completed another, approximately,
        3    four months of on-the-job training.           As soon as I
        4    finished that I went down to the Sand Creek
        5    division, and I worked in Sand Creek for one year.
        6    And then after working in Sand Creek for one year, I
        7    went to the Gold Hill division, and I've been in
        8    Gold Hill since 2020.
        9            Q.    The incident with Mr. Burnett, that's the
       10    subject of this case, occurred in the Gold Hill
       11    division, right?
       12            A.    Yes.
       13            Q.    How long had you been with the Gold Hill
       14    division when the incident with Mr. Burnett
       15    occurred?
       16            A.    Since day one, period one of the 2020
       17    year.    And so I can't say January because I don't
       18    recall if the year, our calendar year for our patrol
       19    schedule started at the end of December or if it was
       20    at the beginning of January.         But since day one,
       21    period one of 2020 all through up until the
       22    incident.     So approximately five months and
       23    three-quarters.
       24            Q.    I see.    And you mentioned you were
       25    assigned to the training academy or worked with the
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 5
                                    of 10


                                                                        Page 25
        1    training academy; is that right?
        2          A.      I was not assigned.      I've never been
        3    assigned to the training academy, but I have gone
        4    over there to assist.
        5          Q.      And you said you assisted with physical
        6    fitness testing?
        7          A.      I assisted with physical fitness testing
        8    and also some of the role playing, scenario-based
        9    training that the recruits currently in the academy
       10    go through.
       11          Q.      Can you describe what that role playing
       12    training is about?
       13          A.      One of the parts or pieces of the
       14    training in the CSPD training academy is
       15    scenario-based training.        There's several days
       16    throughout the, approximately, six-month academy
       17    where these days occur, where officers actually come
       18    in.
       19                          And they've got their duty belt on
       20    and their vests and a police shirt without any
       21    markings or anything, and they respond with another
       22    recruit to mock calls for service, to get experience
       23    working through the things that they've recently
       24    learned in the training academy and get experience
       25    using the radio, get experience driving the police
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 6
                                    of 10


                                                                        Page 26
        1    cars in controlled settings, conducting interviews,
        2    that sort of thing.
        3          Q.      And what you did was act as one of the
        4    people calling for service or --
        5          A.      I --
        6          Q.      -- involved with the -- with the
        7    scenarios?
        8          A.      I've done both.      I've done the actual
        9    role playing, as acting as somebody in either
       10    distress or having a question, or acting, role
       11    playing as a citizen that needed something from the
       12    officers.
       13                          I've also done the evaluating side
       14    of watching the recruits handle call for service,
       15    staying back and watching them problem solve and
       16    work through, and then debriefing their responses
       17    afterwards.
       18          Q.      Uh-huh.    Other than the physical therapy
       19    fitness testing and this role play training, did you
       20    do any other work at the training academy?
       21          A.      Recently, since I went to a light duty
       22    position, I believe I taught in-service for this
       23    2023 year.     I taught two classes, I believe, and
       24    they were four-hour blocks.         So that's on -- that's
       25    with the training academy, but it's not -- it's the
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 7
                                    of 10


                                                                        Page 50
        1    arrest warrant, based on if it's the individual with
        2    the arrest warrant, whether it's their residence or
        3    a third person's.       So there's, I guess, a couple
        4    different dynamics that could be at play for
        5    exigency.
        6          Q.      And were you trained on exigency?
        7                     MR. LAMPHERE:      Objection.
        8    Foundation.
        9                          You can answer.
       10          A.      Yes.
       11          Q.      Can you describe that training?
       12          A.      The training specifically, no.
       13          Q.      What do you recall learning about
       14    exigency?
       15          A.      There are certain situations where there
       16    are exceptions to the search warrant requirement,
       17    including protection or immediate protection of
       18    life, or some sort of destruction of evidence that
       19    you're trying to prevent, or a hot pursuit
       20    situation.
       21          Q.      And based on your training, did you
       22    believe any of those applied to the entry into
       23    Mr. Burnett's house?
       24          A.      Yes, I believe the hot pursuit exception
       25    to the search warrant requirement would apply.
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 8
                                    of 10


                                                                      Page 112
        1                           (Break from 12:16 p.m. to
        2                            12:25 p.m.)
        3    BY MR. BOHNET-GOMEZ:
        4          Q.      Officer, we just took a break.         Before
        5    the break, I had asked you about Sudden Custody
        6    Death Syndrome.        Do you recall that?
        7          A.      Yes.     It's not a term that I have -- I'm
        8    familiar with, unless it's a substitute term with
        9    another medical condition or something.
       10          Q.      So let me have you turn to Exhibit 8 in
       11    the binder that you have in front of you.
       12                           So this is a PowerPoint that has
       13    been previously marked as Exhibit 8 in another
       14    deposition.     And you've never seen this PowerPoint,
       15    I take it?
       16          A.      Not --
       17                     MR. LAMPHERE:      Form.    Foundation.
       18                           You can answer.      Sorry, you can
       19    answer.
       20                     THE WITNESS:      No, you're fine.
       21          A.      I don't know that I recall every
       22    PowerPoint I've seen in the last five years of my
       23    career.    I recognize the term "excited delirium,"
       24    so.
       25          Q.      Okay.    So you were -- have you been
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 9
                                    of 10


                                                                      Page 113
        1    trained on excited delirium?
        2          A.      Yes.
        3          Q.      What is excited delirium?
        4          A.      This is by no means a medical definition.
        5    But my understanding of things you'd be looking for
        6    are when people are experiencing some sort of
        7    significant strength, outburst, like super human
        8    strength almost.      They might be sweating profusely.
        9    A lot of times one of the things we were taught to
       10    look for is people, like, stripping off their
       11    clothes because they're sweating, their body is kind
       12    of overheating.
       13                          And they might not be making a
       14    whole lot of sense as they're talking, so they may
       15    not -- like, if you try to communicate with them and
       16    say something, they're not just going to respond,
       17    you know, with an appropriate yes or a no or
       18    something like that.
       19          Q.      Were you trained about any risks
       20    associated with excited delirium?
       21                     MR. LAMPHERE:      Foundation.
       22                          You can answer.
       23          A.      I don't recall specifically the risks we
       24    were taught about, if we were.         It's just not
       25    something that I can recall at this time.
Case No. 1:21-cv-01708-WJM-MDB Document 78-15 filed 12/22/23 USDC Colorado pg 10
                                    of 10


                                                                       Page 135
         1                        REPORTER'S CERTIFICATE
         2                  I, LEEANN L. STELLOR, Registered Merit
         3    Reporter and Certified Realtime Reporter within
         4    Colorado, ID 200401669, appointed to take the
         5    deposition of OFFICER CAROLINE BARTH (ROMINE), do
         6    hereby certify that before the deposition she was duly
         7    sworn by me to testify to the truth; that the
         8    deposition was taken by me then reduced to typewritten
         9    form herein; that the foregoing is a true transcript of
        10    the questions asked, testimony given and proceedings
        11    had.
        12
        13                  I further certify that I am not related to
        14    any party herein or their Counsel, and have no interest
        15    in the result of this litigation.
        16
        17                  In witness hereof I have hereunto set my
        18    hand this 11th day of July, 2023.
        19
        20                                  _______________________
                                            Leeann L. Stellor
        21                                  Registered Merit Reporter
                                            Certified Realtime Reporter
        22                                  and Notary Public
        23
        24    My commission expires June 8, 2024
        25
